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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

 In re:                                                          Case No. 14-22974-BKC-LMI

 MASSA FALIDA DO BANCO                                           Chapter 15
 CRUZIERO DO SUL, S.A.,

        Debtor in Foreign Proceeding.
 _____________________________________/
 LASPRO CONSULTORES LTDA.,                                       Adv. Case No. 16-01315-LMI
 A Brazilian Sociedade Limitada,

             Plaintiff,
 v.

 ALINIA CORPORATION, a British Virgin Islands
 Company Limited by Shares and 110 CPS, Inc., A British
 Virgin Islands company Limited by Shares

       Defendants.
 _____________________________________/

              DEFENDANTS’ MEMORANDUM ON CHOICE OF LAW FOR PLAINTIFF’S
                   AIDING AND ABETTING CLAIMS AND IN SUPPORT
                             OF MOTION TO DISMISS SAME

              Defendants, Alinia Corporation (“Alina”) and 110 CPS, Inc. (“CPS”) (collectively, the

 “Defendants”), by and through their undersigned counsel, and pursuant to that Order issued by

 the Court on February 14, 2017 (ECF No. 43), hereby submit their Memorandum on Choice of

 Law for the Plaintiff’s Aiding and Abetting Claims and in Support of their Motion to Dismiss

 such claims as asserted in Plaintiff’s Amended Complaint (the “Complaint”), and as grounds

 therefor state:

                                       I.     INTRODUCTION

              Alinia and CPS are British Virgin Islands corporations, which own property in New

 York. The Complaint alleges Felippe Indio da Costa (“Felippe”) and Octavio Indio da Costa




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    (“Octavio”) embezzled funds from the Debtor, which Plaintiff asserts were used to purchase the

    apartments and art in New York that are the subjects of the claims alleged in the Complaint

    (collectively the “New York Property”).1        The aiding and abetting claims allege that the

    Defendants assisted their principals in committing fraud, conversion and breach of fiduciary duty

    by using the allegedly embezzled funds to purchase the New York Property and concealing the

    ownership of the New York Property from the Debtor and later the Trustee.

           This activity necessarily had to have taken place in New York where the New York

    Property sought by the Trustee is located. Under the applicable choice of law rules, this Court

    should apply the law of the jurisdiction with the most significant relation to the matters that are

    the subject of the litigation. The only jurisdictions which qualify are New York and Brazil.

    While New York recognizes causes of action for aiding and abetting conversion, fraud and

    breach of fiduciary duty, its courts have also held that it is not possible for a corporation to aid

    and abet its principals in committing torts. Brazil, the jurisdiction where the foreign proceeding

    is pending and from where the funds were allegedly embezzled, has a significant interest in the

    action. However, the concept of the common law, judicially created tort of aiding and abetting

    does not exist in Brazilian jurisprudence.      Therefore, regardless of whether New York or

    Brazilian law applies, the result is the same. The aiding and abetting claims do not state a cause

    of action and must be dismissed with prejudice.

                                         II.      DISCUSSION

           A. The Amended Complaint

           The Plaintiff, Laspro Consultores, Ltda. (“Laspro” the “Plaintiff” or the “Trustee”) is a

    Brazilian bankruptcy court appointed trustee for Banco Cruziero Do Sul, S.A. (the “Debtor” or


1
 Alinia had not been formed at the time funds were allegedly embezzled and used to purchase the
Penthouse apartment.

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 the “Bank”).       The Trustee has filed this adversary action pursuant to Chapter 15 of the

 Bankruptcy Code 11 USC § 1501 et seq and asserted the following allegations relevant for

 purposes of determining whether the Plaintiff’s aiding and abetting claims should be dismissed.

 Defendants are British Virgin Islands corporations. Complaint ¶¶ 5, 6. The Indio da Costa

 family acquired the Bank in 1993. Complaint ¶ 7. The primary members of the family who

 were involved in the management of the Bank were Luis Felippe Indio da Costa (“Felippe”) and

 his son, Luis Octavio da Costa (“Octavio”). Complaint ¶ 8. The Complaint alleges Felippe and

 Octavio created false salary loans, and through this and other schemes were able to divert large

 sums of money from the Bank for their own use and benefit. Complaint ¶¶ 10-18.

           In July 2008, Felippe purchased an apartment located at 60 East 55th Street in New York

 City (the “Penthouse”). Complaint ¶ 19. “[S]ubsequently, Felippe created a trust called Correas

 Trust” and then in 2011 transferred the Penthouse to Alinia. Complaint ¶¶ 20-21. Felippe is the

 only director of Alinia and is its only ultimate owner through the Correas Trust. Complaint ¶¶

 20, 23.

           CPS is owned by Star Investimentos e Participacoes, Ltda, a Brazilian entity which itself

 is wholly owned by Octavio and Felippe. Complaint ¶¶ 28-31. In June 2010, CPS “by and

 through Octavio and/or Felippe, allegedly using funds diverted from BCSUL, purchased 170

 shares of 110 Central Park South Corporation” (“Apartment 6B”). Complaint ¶31. Since

 Apartment 6B and the Penthouse are located in New York it is logical to assume that the

 transactions took place there

           The Complaint also alleges that various artworks were purchased with funds allegedly

 diverted from BCSUL and placed in the Penthouse and Apartment 6B (the “Artwork”).

 Complaint ¶¶ 37-38.



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           BCSUL was placed in Special Temporary Administration liquidation in June 2012.

 Complaint ¶ 7. In September 2012, BCSUL was placed in extra-judicial liquidation. Complaint

 ¶ 41. In August 2015, BCSUL was placed in full judicial bankruptcy. Complaint ¶ 44. Between

 then and June 2016, two trustees were appointed and later removed (for reasons not alleged in

 the Complaint) by the Brazilian Court. The current Trustee was appointed in January 2016.

 Complaint ¶¶ 47-48.

           Plaintiff asserts claims against the corporate defendants for aiding and abetting their

 principals, Felippe and Octavio as follows: (i) Counts VI, VII, VIII, allege claims for aiding and

 abetting breach of fiduciary duty, conversion and fraud respectively against Alinia with regard to

 the Penthouse; (ii) Counts XVIII, XIX and XX alleged the same claims against CPS with regard

 to Apartment 6B; and (iii) Counts XXX, XXXI and XXXII allege the same claims against both

 Alinia and CPS with regard to the Artwork (collectively, the “Aiding and Abetting Claims”).

           The aiding and abetting counts against Alinia with regard to the Penthouse allege that

 Alinia “knowingly induced and/or participated in Felippe’s and/or Octavio’s” breach of

 fiduciary duties/conversion and fraud. Complaint ¶¶97, 105, 117. These counts also allege:

 “Alinia provided substantial assistance to the perpetration of the [breach of fiduciary

 duty/conversion] through its receipt, retention and concealment of Penthouse 2.” Complaint

 ¶¶ 98, 106. Emphasis added.

           Count X alleging aiding and abetting fraud is much the same stating: Alinia provided

 substantial assistance in the advancement of the fraud through its intentional receipt,

 retention and concealment of the proceeds of the fraud in the form of Penthouse 2 and the

 Artwork.” Complaint ¶118 (Emphasis added).




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           The Counts against CPS with regard to Apartment 6B are practically identical, alleging

 “CPS provided substantial assistance to Octavio’s and Felippe’s (breach of fiduciary duty,

 conversion and fraud) through its receipt, retention and concealment of the Apt. 6B Funds but

 also through its use of the Apt. 6B Funds to acquire the Apt. 6B Shares the Apt. 6B Lease.

 Complaint ¶¶ 200, 208 and 220. The allegations supporting the claims against both Defendants

 concerning the Artwork are very similar to those alleging the claims with regard to the Penthouse

 and Apartment 6B. Complaint ¶¶ 300, 308 and 320.

           B. Choice of Law Analysis

           It is well settled that a federal court sitting in diversity is required to apply the substantive

 law of the forum state. Erie Railroad v. Tomkins, 304 U.S. 64, 58 S.Ct 817, 82 L.Ed. 1188

 (1938). In Lamm v. State Street Bank, 889 F. Supp. 2d 1321, 1326 (S.D. Fla. 2012), the court

 held that this principle applied to issues involving choice of law, requiring the court to use the

 choice of law rules of the forum. However, this rule does not always apply to a bankruptcy court

 faced with a choice of law issue. In Vanston Bondholders Protective Comm. v. Green, 329 U.S.

 487, 67 S.Ct 1020, 91 L.Ed 162 (1946), the Supreme Court held that a bankruptcy court “must

 administer and enforce the Bankruptcy Act as interpreted by this Court in accordance with

 authority granted by Congress to determine how and what claims should be allowed under

 equitable principles.” 329 U.S at 163-3. In other words, a bankruptcy court must apply federal

 law when adjudicating federal subject matter.

           This statement is clear enough when applied to matters within the core jurisdiction of a

 bankruptcy court such as determining the allowability of a claim. In such cases, since it is

 dealing with federal subject matter, a bankruptcy court must apply federal choice of law rules to




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 determine the applicable law. In re Sterba, 516 B.R. 579 (9th Cir. BAP 2014); In re Hionas, 361

 B.R. 269 (Bkr. S.D. Fla 2006)

           When the issue before a bankruptcy court is not a matter of federal question jurisdiction

 pursuant to 28 USC §157(b)(2), the choice of law rules of the forum state should be applied. In

 re Merrit Dredging, 839 F.2d 203, 206 (4th Cir. 1988); In re Gaston & Snow, 243 F.3d 599, 606

 (2d Cir. 2001). Here, the Trustee’s common law claims for aiding and abetting are not federal

 subject matter but are state common law claims. Since this Court is located in Florida, this

 State’s choice of law rules should be applied.

           For many years Florida has followed the ‘Significant Relations Test’ of Section 145 of the

 Restatement Second of Conflict of Laws in determining the law that should be applied to tort

 claims. Bishop v. Florida Specialty Paint, Co., 389 So.2d 999, 1001 (Fla. 1980).

           Section 145, Restatement (second) Conflict of Laws, the General Principle states:

           (1)    The rights and liabilities of the parties with respect to an issue in
                  tort are determined by the local law of the state which, with respect
                  to that issue, has the most significant relationship to the occurrence
                  and the parties under the principles stated in § 6.

           (2)    Contacts to be taken into account in applying the principles of § 6
                  to determine the law applicable to an issue include:
                  (a) the place where the injury occurred,
                  (b) the place where the conduct causing the injury occurred,
                  (c) the domicile, residence, nationality, place of incorporation and
                  place of business of the parties, and
                  (d) the place where the relationship, if any, between the parties is
                  centered.
                  These contacts are to be evaluated according to their relative
                  importance with respect to the particular issue.

           Section 6 of the Restatement states:
           (1)    A court, subject to constitutional restrictions, will follow a statutory
                  directive of its own state on choice of law.
           (2)    When there is no such directive, the factors relevant to the choice of
                  the applicable rule of law include:
                  (a) the needs of the interstate and international systems,

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                  (b) the relevant policies of the forum,
                  (c) the relevant policies of other interested states and the relative
                  interests of those states in the determination of the particular issue,
                  (d) the protection of justified expectations,
                  (e) the basic policies underlying the particular field of law,
                  (f) certainty, predictability and uniformity of result, and
                  (g) ease in the determination and application of the law to be
                  applied.

           C.     Application of Florida’s Choice of Law Rules

           (i)    Section 145 of the Restatement: As stated in Section 145, he issue must be

 examined to actually determine the jurisdiction with the “most significant relation to the

 occurrence and the parties under the principles stated in §6.” The first question under §145(2)(a)

 is the place where the injury occurred. Clearly, although the conduct is alleged to have occurred

 in New York, the damage allegedly caused by the Defendants’ conduct would be felt in Brazil

 where the Debtor, its creditors and the Trustee are domiciled, not New York.

           Next, under §145(2)(b) the Court must consider “the place where the conduct causing the

 injury occurred.” The answer to this is -- New York the location where the Defendants allegedly

 aided and abetted their principals in their conversion, breach of fiduciary duty and fraud by

 purchasing the New York Property to conceal the funds Felippe and Octavio had allegedly

 embezzled.

           The next factor, §145(2)(c), is the Defendants’ “domicile, residence, nationality, place of

 incorporation and place of business of the parties.” The Complaint alleges that the Defendants

 are incorporated in the British Virgin Islands, while the Trustee and the Debtor are located in

 Brazil. In some situations, Florida choice of law rules views the domicile of corporate parties as

 a potentially dispositive factor in determining the choice of law that is to be applied. Mukamal v.

 Bakes, 378 Fed. Appx. 890 (11th Cir. 2010) (claim that the defendant directors of a Delaware

 company breached their fiduciary duties to the corporation and aided and abetted each other in

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    doing would be decided under Delaware law). The Mukamal Court found that fiduciary duties

    owed by officers and directors to their corporation “concern the internal affairs of a corporation”

    Id at 896. In addition the Court held that as a matter of Florida statutory law, the internal affairs

    of a corporation are governed by the law of its state of incorporation. Id at 897, citing to

    §607.1505(3), Fla.Stat. See also, Restatement (second) Conflict of Laws §§302, 306 and 309.

    Here, the Aiding and Abetting Claims do not involve the internal affairs of the Defendant

    corporations, and therefore, the laws of their place of incorporation -- the British Virgin Islands –

    should not be applied.2 On the other hand, because the Debtor is a Brazilian bank and the

    Trustee was appointed by a Brazilian court, this factor tends to favor the law of Brazil.

           The final factor, §145(2)(d), is “the place where the relationship, if any between the

    parties is centered.” This factor is not particularly relevant since there is no relationship between

    the Plaintiff Trustee and the corporate Defendants. However, the Trustee also alleges in the

    Complaint that New York law, NY DCL §§273, 274, 275 and 276 should be applied to avoid the

    Defendants’ title to the New York Properties transferred to the Trustee. Presumably the Trustee

    also relies on New York law for its counts alleging constructive trust or equitable lien. Counts I,

    XIII and XXV. The New York Properties are in New York, so if relevant at all, this factor

    together with the Trustee’s preference for New York law, tends to favor New York. Therefore,

    on balance, the factors of §145 are divided between Brazil and New York, with perhaps a slight

    advantage to Brazil.



2
  Research into the law of the British Virgin Islands has not found any case law relating to the tort of aiding and
abetting. However, the law of England, which is very influential on British Virgin Islands law, does not recognize
the tort of aiding and abetting. In Credit Lyonnais Bank Nederland, NV v Exports Credits Guarantee Dept. (1999)
C.L.C. 823, 856, the U.K. Supreme Court made an extensive review of many cases and other authorities and
concluded: “(T)he overall effect of these cases is clear… Acts which knowingly facilitate the commission of a
crime amount to the crime of aiding and abetting but they do not amount to a tort or make the aider liable as
a joint tortfeasor. (emphasis added).


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           (ii)   Section 6 of the Restatement: The factors of §6 have to be considered. The first

 factor is whether there is a statute in the forum state which controls the choice of law. Florida

 does not have a statute directing the choice of law for aiding and abetting claims.

           The next factor, §6(2)(a), “the needs of the interstate and international systems” would not

 seem to be applicable.

           Section 6(2)(b) requires consideration of “The relevant policies of the forum.” Florida

 recognizes aiding and abetting as a valid cause of action. MP, LLC v. Sterling Holding, LLC,

 (Fla. 3d DCA 2016). Therefore, the policies of Florida will not be offended if the law of a forum

 which also recognizes the theory is chosen.

           Under §6(2)(c) the Court should consider “the relevant policies of other interested states

 and the relative interests of those states in the determination of the particular issue.” Brazil does

 not recognize aiding and abetting as a cause of action. See affidavit of Diogo Assumpcao

 Rezende De Almeida attached hereto as Exhibit 1. However, New York does recognize such a

 cause of action. Monaghan v. Ford Motor Company, 71 A.D.3d 848, 897 N.Y. 482 (N.Y. App

 2010). Therefore, it would not offend the policy of New York to apply its law to these claims.

           The next factors, §6(2)(d)(e)(f) and (g) “the protection of justified expectations; the basic

 policies underlying the particular field of law; certainty and predictability of result; and ease in

 the determination and application of the law to be applied,” can all be considered together and

 would also favor New York.            First, the conduct alleged took place in New York which

 recognizes the theory asserted. New York also has a body of case law on aiding and abetting

 claims, so there will be certainty and predictability if the law of that jurisdiction is applied. See,

 eg., Monaghan. Because Brazil does not recognize the cause of action of aiding and abetting a

 breach of fiduciary duty it has no law to apply, thereby creating the potential for uncertainty,



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 unpredictability, or lack of uniformity. In addition, given the clear New York case law on the

 subject (discussed below) there will be no difficulty in applying the law of New York to the

 claims.

           In sum, while both Brazil and New York have a significant relationship to the occurrence

 and the parties, the balancing of the factors comes down on the side of applying New York law.

 New York is the place where the New York Properties were purchased, allegedly with the intent

 of aiding and abetting Felippe and Octavio in their tortious conduct by hiding the proceeds of

 their alleged embezzlement of funds from the Debtor. The property at issue is certainly located

 in New York and the Trustee has asserted New York avoidance claims against it.

           While Brazil undoubtedly has a very significant interest in seeking damages against the

 Defendants for the alleged Aiding and Abetting Claims, it does not recognize the cause of action.

 Thus, if Brazil is deemed to be the jurisdiction with the most significant interest, then the Aiding

 and Abetting Claims should be dismissed with prejudice since the theory is not recognized there.

 See Almeida Affidavit; Mukamal, supra.

              D.   The Aiding and Abetting Counts Do Not State a Claim Under New York Law

              An analysis under New York law also requires the dismissal of the Aiding and Abetting

 Claims. Although New York jurisprudence recognizes aiding and abetting as a viable theory of

 recovery, Monaghan, supra., it does not sustain the Trustee’s claims. The Complaint alleges that

 Felippe is the sole director of Alinia and its sole ultimate owner. Complaint ¶¶23-24. Likewise,

 with regard to CPS, the Complaint alleges that Felippe and Octavio are the sole ultimate owners

 of that corporation. Complaint ¶¶28-10. The Complaint alleges that the Defendant corporations

 aided and abetted their sole ultimate owners, Felippe and Octavio, in converting the Debtor’s

 property, breaching their fiduciary duty to the Debtor and committing fraud against the Debtor.



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           Under New York law it is well-established that a corporation cannot act on its own but

 must act through its agents. Oliner v. Mid-Town Promoters, Inc. 138 N.E.2d 217 (N.Y. 1956).

 In Gordon v. Elliman, 280 A.D. 655, 658 (N.Y. App 1956) the Court stated: “There is no

 divergence of interest between a corporation and the entire body of its stockholders in any

 matter. Their interests are identical. Indeed a corporation in essence is nothing more than the

 corporation body of its stockholders”. In U.S. ex rel Emanuel v. Jaeger, 117 F.2d 483 (2d Cir.

 1941) the Second Circuit held that corporations are merely conduits through which individuals

 carry on their business.

           Under the same principles a corporation cannot conspire with its owners, Copperweld

 Corp. v. Independence Tube Corp. 467 U.S. 752 (1984). This would be the equivalent of

 someone conspiring with himself. Consequently, a corporation cannot aid and abet its principals

 in committing tortious conduct, Genger v. Genger, 135 A.D 3d 454, 455 (N.Y. App. 2016).

 Aiding and abetting is an intentional tort. Monaghan, supra. It is just not credible to suggest

 that a corporation can, separately from its owner, form the intent to aid and abet the owner in

 tortious conduct.       Instead, as has been well established for many years under New York

 jurisprudence, a corporation acts only because its owner causes it to act. Oliner, supra., Gordon,

 supra. Therefore, under New York law it is not legally possible for a corporation to

 independently intentionally aid and abet its owners in committing tortious activity.            The

 Trustee’s Aiding and Abetting Claims fail as a matter of law and should be dismissed with

 prejudice.

                                            CONCLUSION

              The applicable choice of law rules point to either New York or Brazil. Brazil does not

recognize claims for aiding and abetting, and although New York does, given the facts alleged



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here, the Trustee’s claims cannot be sustained as a matter of law. Accordingly, the Aiding and

Abetting Claims should be dismissed with prejudice.

                                            Respectfully submitted,

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                                            Counsel for the Defendants
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                                            By: /s/ Jeremy J. Hart
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                                                   Jeremy J. Hart, Esq. (FBN 510645)
                                                   Jeremy S. Korch, Esq. (FBN 0014471)

                                       CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true and correct copy of the foregoing was served

electronically via CM/ECF, Email, and/or via U.S. Mail, as indicated on the attached service list

on this 1st day of March, 2017.

                                            By:     /s/ Jeremy J. Hart
                                                      Jeremy J. Hart

                                       SERVICE LIST

VIA CM/ECF:

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                                       Exhibit 1


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                                       Exhibit A


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____________________________________________

     Diogo Assumpção Rezende de Almeida
____________________________________________
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     Name:                            Diogo Assumpção Rezende de Almeida
     Nationality:                     Brazilian
     Profession:                      Lawyer
     Date of birth:                   14 August 1979, 37 years old.


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     E-mail:                          diogor@openlink.com.br



                                          EDUCATION


• Bachelor of Laws at Universidade Federal do Rio de Janeiro (UFRJ) Law School, 2003.

• LL.M. in Civil Procedure Law and Litigation at Universidade Estadual do Rio de Janeiro
(UERJ), 2006-2008.

• Ph.D. in Civil Procedure Law and Litigation at Universidade Estadual do Rio de Janeiro
(UERJ), 2010-2014.

• Visiting Scholar at University of Cambridge, United Kingdom, 2010-2011.


                              PROFESSIONAL EXPERIENCE


1.      Fundação Getúlio Vargas - FGV
           _______________________________________________________________________
           Institution Affiliation
           2014 - present       Affiliation: employee according to Brazilian labour law, Position:
                                Professor of Civil Procedure Law, Workload: 20, Part time job.

2.      Universidade do Estado do Rio de Janeiro - UERJ
            _______________________________________________________________________
            Institution Affiliation

               2012 - 2013    Affiliation: teaching internship, Position: teaching internship, Workload:
                              10, Part time job.

3.      Universidade Federal de Juiz de Fora - UFJF
            _______________________________________________________________________
            Institution Affiliation

               2012 - 2012    Affiliation: Visiting professor, Position: Invited professor, Part time job.

4.      Escola Superior de Advocacia - OAB/RJ - 12ª Subseção - ESA
            _______________________________________________________________________
            Institution Affiliation



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              2008 - 2009        Affiliation: Cooperator, Position: Collaborator Professor, Workload: 2,
                                 Part time job.

5.        Centro de Estudos, Pesquisa e Atualização em Direito - CEPAD
              _______________________________________________________________________
              Institution Affiliation

              2009 - 2010        Affiliation: Cooperator, Position: Collaborator Professor, Workload: 2,
                                 Part time job.

6.        Instituto de Estudos de Protesto de Títulos do Brasil - Seção Rio de Janeiro - IEPTB-
RIO
              _______________________________________________________________________
              Institution Affiliation

              2009 - 2010        Affiliation: Cooperator, Position: Collaborator Professor, Workload: 2,
                                 Part time job.

__________________________________________________________________________________________

Languages
English              Advanced in written and spoken

Spanish              Beginner in written and spoken

French               Intermediate in written and spoken

Italian              Intermediate in written and spoken

Portuguese           Mother Tongue

__________________________________________________________________________________________


Awards / certificates
              2003               Aguiar Dias Award, OAB/RJ




Publications
______________________________________________________________________________________
Bibliographic productions
Articles published in journals

1. RODRIGUES, B. J. V.; ROQUE, A. V.; ALMEIDA, Diogo Assumpção Rezende de; GUEDES, Cintia Regina;
FORTI, I. S. D.; BISNETO, J. Q.; ARAUJO, José Aurélio de; FARIA, M. K.; MENEZES, P. B.; NARDELLI, M. M.;
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'Observatório das Reformas Processuais'. Revista de Processo. , v.242, p.89 - 164, 2015.

2. QUIRINO BISNETO, J.; ROMANO NETO, O.; FARIA, M. C.; NARDELLI, M. M.; RODRIGUES, B. J. V.;
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1. ALMEIDA, Diogo Assumpção Rezende de
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de Janeiro:Instituto de Estudos de Protestos de Títulos do Brasil - Seção Rio de Janeiro, 2009. (Outra produção
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Guidance and supervision

Guidance and supervision


Monograph in a specialization course

1. Cassio Luis Furim. A Gestão da Unidade Judiciária pelo Magistrado. 2016. Monograph (Programa de
Capacitação em Poder Judiciário) - Fundação Getúlio Vargas

2. Marcos Terencio Agostinho Pires. Considerações sobre o princípio da oralidade. 2016. Monograph


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Events

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Participation in events

1. Lecturer in I Congresso de Direito Processual da Faculdade de Direito - UFJF, 2016. (Congress)
As Convenções Processuais no novo CPC.

2. Opening lecture in "Reflexões sobre o novo CPC" event, 2016.
Reflexões sobre o novo CPC.

3. As Inovações do novo CPC e os meios alternativos de resolução de conflitos, 2015. (Seminar)
A Mediação no novo CPC.

4. Lecturer in Congresso de Processo Civil de acordo com o novo CPC, 2015. (Congress)
As Convenções Processuais no novo CPC.

5. Oral presentation in Fórum de Estudos do Novo CPC - PGE Rio de Janeiro, 2015. (Seminar)
As convenções processuais e o novo CPC.

6. Moderator in I Semana Universitária de Mediação de Conflitos, 2015. (Congress)
Mediação no novo CPC.

7. Lecturer in Novas Tendências do Direito Processual Civil, 2015. (Exhibition)
Os custos do processo e honorários advocatícios no novo CPC.

8. Lecturer in Principais alterações do NCPC - Centro de Estudos Jurídicos Light, 2015. (Seminar)
Principais alterações do NCPC.

9. 25 anos da Constituição de 1988, 2013. (Congress)
Constituição de 1988: acesso à justiça e mediação de conflitos.

10. Lecturer in Semana Jurídica Mediação Conciliação e Arbitragem, 2008. (Congress)
As etapas do procedimento de mediação.


Boards of examination

Boards of examination
Member in an examination board

Doctorate

1. FUX, L.; PINHO, H. D. B.; CABRAL, A. P.; SICA, H.; ALMEIDA, Diogo Assumpção Rezende de
Member in Fernanda Medina Pantoja’s examination board. Protocolos Pré-Processuais: Fundamentos para a
Construção de uma Fase Prévia ao Processo no Direito Brasileiro, 2016
(Master’s and Doctorate course in UERJ) Universidade do Estado do Rio de Janeiro


Graduation

1. ALMEIDA, Diogo Assumpção Rezende de; AYOUB, L. R.; NEVES, G. K. M.
Member in Luisa Whitaker de Assumpção Mattos Tavares’s examination board.As inovações trazidas pelo
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processuais, 2015
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2. AYOUB, L. R.; JATAHY, C. R. C.; ALMEIDA, Diogo Assumpção Rezende de
Member in Patrick Szklarz’s examination board. Nem tão perto, nem tão longe de uma panacéia: o incidente
de Resolução de Demandas Repetitivas no Novo Código Processo Civil como instrumento necessário à
concretização das Garantias constitucionais, 2015
(Law) Fundação Getúlio Vargas

3. RODRIGUES, M. A.; TAVARES, L. M. C.; ALMEIDA, Diogo Assumpção Rezende de
Member in Eric Paixão do Nascimento Araújo’s examination board. A relativização da coisa julgada: uma
abordagem crítica a respeito do tema na doutrina e na jurisprudência, 2014
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